Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 1 of 9 Page ID #:1



      Gregory K. Nelson, Esq., CSB No. 203029
  1         Email: nelson@weeksnelson.com
      Chandler G. Weeks, Esq., CSB No. 245503
  2         Email: cgw@weeksnelson.com
      WEEKS NELSON
  3   462 Stevens Avenue, Suite 310
      Solana Beach, CA 92075
  4   Telephone: (858) 794-2140
      Fax: (858) 794-2141
  5   Email: Office@weeksnelson.com
  6   Attorneys for Plaintiff
  7

  8
                                UNITED STATES DISTRICT COURT
  9
             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 10

 11

 12
      RED.COM, INC., dba RED                 )   Case No.:
 13   DIGITAL CINEMA, a Washington           )
      corporation,                           )
 14
                                             )   COMPLAINT FOR PATENT
 15
                   Plaintiff,                )   INFRINGEMENT
 16
                                             )
            vs.                              )
 17   NOKIA USA INC., a Delaware             )   DEMAND FOR JURY TRIAL
 18
      corporation, and NOKIA                 )
      TECHNOLOGIES, LTD., an                 )
 19   unknown corporate entity               )
                                             )
 20                                          )
                   Defendants.               )
 21                                          )
                                             )
 22

 23

 24

 25

 26

 27

 28




                                             1                       Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 2 of 9 Page ID #:2




  1         Plaintiff Red.com, Inc. dba Red Digital Cinema (hereinafter referred to as
  2   "RED") hereby complains of Nokia USA Inc. and Nokia Technologies, Ltd.
  3   (hereinafter collectively referred to as “Nokia” or “Defendants”), and alleges as
  4   follows:
  5                              JURISDICTION AND VENUE
  6         1.     Jurisdiction over this action is founded upon 15 U.S.C. § 1121, and 28
  7   U.S.C. §§ 1331 and 1338.
  8         2.     Venue is proper under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. §
  9   1400(b). Defendants have offices within California, conduct business in California
 10   and within this judicial district and have made, used, offered for sale and/or sold
 11   infringing products in this judicial district.
 12                                       THE PARTIES
 13         3.     Red.com, Inc. is a corporation organized and existing under the laws of
 14   the State of Washington, having its principal place of business at 34 Parker, Irvine,
 15   California 92618, and doing business within this judicial district.
 16         4.     RED is informed and believes, and thereupon alleges that Defendant
 17   Nokia USA, Inc. is a Delaware corporation having its principal place of business
 18   located at 6000 Connection Drive, Irving, Texas 75039. RED is informed and
 19   believes, and thereupon alleges, that Defendant Nokia USA Inc. also has offices in
 20   California, at least at 200 South Mathilda Avenue, Sunnyvale, California 94086, and
 21   that it is registered with the California Secretary of State to conduct business in
 22   California and in fact does conduct business in California. RED is informed and
 23   believes, and thereupon alleges, that Defendant Nokia USA Inc. has made, used,
 24   offered to sell, advertised and/or sold products, including the accused products
 25   identified below, directly and in the stream of commerce knowing such products
 26   would be sold in California and in this judicial district.
 27         5.     RED is informed and believes, and thereupon alleges that Defendant
 28   Nokia Technologies, Ltd. is an unknown corporate entity having offices at 200 S.



                                                  2                          Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 3 of 9 Page ID #:3




  1   Mathilda Avenue, Sunnyvale, California 94086. RED is informed and believes, and
  2   thereupon alleges, that Defendant Nokia Technologies, Ltd. also has offices in
  3   California and that it is registered with the California Secretary of State to conduct
  4   business in California and in fact does conduct business in California. RED is
  5   informed and believes, and thereupon alleges, that Defendant has made, used,
  6   offered to sell, advertised and/or sold products, including the accused products
  7   identified below, directly and in the stream of commerce knowing such products
  8   would be sold in California and in this judicial district.
  9

 10                              FACTUAL BACKGROUND
 11         6.     Since at least 2005, RED has been and continues to be actively engaged
 12   in the design, development, manufacture and sale of high performance digital still
 13   and motion cinematography cameras, video equipment and accessories, digital
 14   editing software, video players and generally, imaging format technology used in
 15   the dissemination, broadcast, or transmission of video. Since the introduction of its
 16   revolutionary RED ONE® camera, RED’s products have been used to film
 17   blockbuster movies, as well as many other movies and television series. The RED
 18   cameras and products have revamped the movie making process and industry.
 19         7.     RED is the owner by assignment of U.S. Patent No. 8,174,560, duly
 20   and lawfully issued on May 8, 2012, describing and claiming the invention entitled
 21   “Video Camera.” A true and correct copy of U.S. Patent No. 8,174,560 is attached
 22   hereto as Exhibit 1.
 23         8.     RED is the owner by assignment of U.S. Patent No. 9,019,393, duly
 24   and lawfully issued on April 28, 2015, describing and claiming the invention entitled
 25   “Video Processing System and Method.” A true and correct copy of U.S. Patent No.
 26   9,019,393 is attached hereto and incorporated by reference as Exhibit 2.
 27         9.     RED is the owner by assignment of U.S. Patent No. 9,245,314, duly
 28   and lawfully issued on January 26, 2016 describing and claiming the invention



                                                 3                            Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 4 of 9 Page ID #:4




  1   entitled “Video Camera.” A true and correct copy of U.S. Patent No. 9,245,314 is
  2   attached hereto and incorporated by reference as Exhibit 3.
  3         10.     RED is informed and believes, and thereupon alleges that Nokia is
  4   selling certain video cameras that unlawfully embody the claimed subject matter of
  5   U.S. Patent Nos. 8,174,560, 9,019,393, and 9,245,314. In particular, RED is
  6   informed and believes, and thereupon alleges, that Defendant’s Nokia Ozo camera
  7   embodies the subject matter claimed in RED's asserted patents without any license
  8   thereunder and thereby infringe RED’s U.S. Patent Nos. 8,174,560, 9,019,393, and
  9   9,245,314. RED is informed and believes, and based thereon alleges that Nokia
 10   made, used, imported, advertised, offered for sale and/or sold its accused cameras to
 11   multiple distributors, retailers, and/or retail customers.
 12         11.     Nokia is on notice of RED’s patents, as RED provides patent notice on
 13   its products, packaging, and/or at www.red.com/patent. Despite actual and/or
 14   constructive knowledge, Nokia continues to infringe RED's patent rights. On
 15   information and belief, such infringement by Nokia has been willful and wanton.
 16         12.     RED is informed and believes and thereupon alleges that the sale of
 17   Nokia’s unauthorized, infringing cameras has resulted in lost sales, reduced the
 18   business and profit of RED, and greatly injured the general reputation of RED, all to
 19   RED's damage in an amount not yet fully determined. The exact amount of profits
 20   realized by Nokia as a result of its infringing activities, are presently unknown to
 21   RED, as are the exact amount of damages suffered by RED as a result of said
 22   activities. These profits and damages cannot be accurately ascertained without an
 23   accounting.
 24         13.     Nokia is a competitor of RED. Nokia sells its cameras in the same
 25   channels as RED. Nokia’ unauthorized, infringing sales are likely to cause
 26   irreparable harm to RED, which cannot be compensated by damages. Accordingly,
 27   RED seeks a preliminary and permanent injunction enjoining Nokia from making,
 28   using, offering to sell and selling its Ozo camera.



                                                  4                          Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 5 of 9 Page ID #:5




  1

  2
                                FIRST CLAIM FOR RELIEF
                                    Patent Infringement
  3

  4         14.    The allegations of paragraphs 1 through 13 are repled and realleged as
  5   though fully set forth herein.
  6         15.    This is a claim for patent infringement, and arises under 35 U.S.C.
  7   Sections 271 and 281.
  8         16.    Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1338.
  9         17.    RED is the owner of U.S. Patent No. 8,174,560, which protects the
 10   claimed invention entitled “Video Camera.” A true and correct copy of U.S. Patent
 11   No. 8,174,560 is attached hereto as Exhibit 1. By statute, the patent is presumed to
 12   be valid and enforceable under 35 U.S.C. § 282.
 13         18.    Nokia, through its agents, employees and servants, have manufactured,
 14   imported, advertised, offered to sell, and sold, without any rights or license from
 15   RED, cameras that falls within the scope and claim(s) contained in U.S. Patent No.
 16   8,174,560. Such actions constitute direct, indirect, and/or contributory infringement.
 17         19.    RED is informed and believes and thereupon alleges that Nokia
 18   willfully infringed upon RED's exclusive rights under this patent, with full notice
 19   and knowledge thereof.
 20         20.    RED is informed and believes and thereupon alleges that Nokia has
 21   derived, received and will continue to derive and receive from the aforesaid acts of
 22   infringement, gains, profits and advantages in an amount not presently known to
 23   RED. By reason of the aforesaid acts of infringement, RED has been, and will
 24   continue to be, greatly damaged.
 25         21.    Nokia may continue to infringe U.S. Patent No. 8,174,560 to the great
 26   and irreparable injury of RED, for which RED has no adequate remedy at law unless
 27   Nokia is enjoined by this court. Accordingly, RED seeks a preliminary and
 28




                                                5                             Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 6 of 9 Page ID #:6




  1   permanent injunction enjoining Nokia from making, using, importing, offering to
  2   sell and/or selling its Ozo cameras.
  3

  4
                               SECOND CLAIM FOR RELIEF
  5
                                       Patent Infringement

  6
            22.    The allegations of paragraphs 1 through 13 are repled and realleged as

  7
      though fully set forth herein.

  8
            23.    This is a claim for patent infringement, and arises under 35 U.S.C.

  9
      Sections 271 and 281.

 10
            24.    Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1338.

 11
            25.    RED is the owner of U.S. Patent No. 9,019,393, which protects the

 12
      claimed invention entitled “Video Processing System and Method.” A true and

 13
      correct copy of U.S. Patent No. 9,019,393 is attached hereto as Exhibit 2. By statute,

 14
      the patent is presumed to be valid and enforceable under 35 U.S.C. § 282.

 15
            26.    Nokia, through its agents, employees and servants, have made,

 16
      imported, advertised, offered to sell, and sold, without any rights or license from

 17
      RED, a video processing system that falls within the scope and claim contained in

 18
      U.S. Patent No. 9,019,393. Such actions constitute direct, indirect, and/or

 19
      contributory infringement.

 20
            27.    RED is informed and believes and thereupon alleges that Nokia

 21
      willfully infringed upon RED's exclusive rights under this patent, with full notice

 22
      and knowledge thereof.

 23
            28.    RED is informed and believes and thereupon alleges that Nokia has

 24
      derived, received and will continue to derive and receive from the aforesaid acts of

 25
      infringement, gains, profits and advantages in an amount not presently known to

 26
      RED. By reason of the aforesaid acts of infringement, RED has been, and will

 27
      continue to be, greatly damaged.

 28




                                                6                             Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 7 of 9 Page ID #:7




  1         29.    Nokia may continue to infringe U.S. Patent No. 9,019,393 to the great
  2   and irreparable injury of RED, for which RED has no adequate remedy at law unless
  3   Nokia is enjoined by this court. Accordingly, RED seeks a preliminary and
  4   permanent injunction enjoining Nokia from making, using, importing, distributing,
  5   disseminating, offering to sell and/or selling its video processing system associated
  6   with its Ozo camera.
  7

  8                             THIRD CLAIM FOR RELIEF
  9                                    Patent Infringement
 10         30.    The allegations of paragraphs 1 through 13 are repled and realleged as
 11   though fully set forth herein.
 12         31.    This is a claim for patent infringement, and arises under 35 U.S.C.
 13   Sections 271 and 281.
 14         32.    Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1338.
 15         33.    RED is the owner of U.S. Patent No. 9,245,314, which protects the
 16   claimed invention entitled “Video Camera.” A true and correct copy of U.S. Patent
 17   No. 9,245,314 is attached hereto as Exhibit 3. By statute, the patent is presumed to
 18   be valid and enforceable under 35 U.S.C. § 282.
 19         34.    Nokia, through its agents, employees and servants, have manufactured,
 20   imported, advertised, offered to sell, and sold, without any rights or license from
 21   RED, a camera that falls within the scope and claim contained in U.S. Patent No.
 22   9,245,314. Such actions constitute direct, indirect, and/or contributory infringement.
 23         35.    RED is informed and believes and thereupon alleges that Nokia
 24   willfully infringed upon RED's exclusive rights under this patent, with full notice
 25   and knowledge thereof.
 26         36.    RED is informed and believes and thereupon alleges that Nokia has
 27   derived, received and will continue to derive and receive from the aforesaid acts of
 28   infringement, gains, profits and advantages in an amount not presently known to



                                                7                             Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 8 of 9 Page ID #:8




  1   RED. By reason of the aforesaid acts of infringement, RED has been, and will
  2   continue to be, greatly damaged.
  3         37.      Nokia may continue to infringe U.S. Patent No. 9,245,314 to the great
  4   and irreparable injury of RED, for which RED has no adequate remedy at law unless
  5   Nokia is enjoined by this court. Accordingly, RED seeks a preliminary and
  6   permanent injunction enjoining Nokia from making, using, importing, offering to
  7   sell and/or selling its Ozo cameras.
  8

  9         WHEREFORE, Plaintiff Red.com, Inc. prays as follows:
 10               1. That Nokia, jointly and severally, be adjudicated to have infringed
 11                  RED’s U.S. Patent No. 8,174,560, and that the patent is valid and
 12                  enforceable and is owned by RED;
 13               2. That Nokia, jointly and severally, be adjudicated to have infringed
 14                  RED’s U.S. Patent No. 9,019,393, and that the patent is valid and
 15                  enforceable and is owned by RED;
 16               3. That Nokia, jointly and severally, be adjudicated to have infringed
 17                  RED’s U.S. Patent No. 9,245,314, and that the patent is valid and
 18                  enforceable and is owned by RED;
 19               4. That Nokia, their agents, servants, employees, and attorneys and all
 20                  persons in active concert and participation with them, be forthwith
 21                  preliminarily and thereafter permanently enjoined from making, using,
 22                  importing, offering to sell or selling any cameras that infringe United
 23                  States Patent Nos. 8,174,560, 9,019,393, and 9,245,314;
 24               5. That Nokia be required to account to RED for any and all profits
 25                  derived by them associated with their sale of Ozo camera and Ozo
 26                  camera processing systems, and all damages sustained by RED by
 27                  reason of Nokia’ patent infringement;
 28




                                                 8                             Complaint
Case 8:16-cv-00594-MWF-JC Document 1 Filed 03/30/16 Page 9 of 9 Page ID #:9




  1           6. For an assessment and award of damages against Nokia in an amount
  2              no less than lost profits or a reasonable royalty, pursuant to 35 U.S.C.
  3              § 284;
  4           7. For an order requiring Defendant to deliver up and destroy all
  5              infringing cameras;
  6           8. That an award of reasonable costs, expenses, and attorneys’ fees be
  7              awarded against Defendant pursuant to 35 U.S.C. § 285;
  8           9. That Defendant be directed to file with this court and serve upon RED
  9              within 30 days after the service of the injunction, a report in writing
 10              under oath, setting forth in detail the manner and form in which Nokia
 11              have complied with the injunction; and
 12           10.For such other relief as the Court may deem appropriate at law or
 13              equity.
 14   DATED: March 30, 2016          WEEKS NELSON
 15

 16
                                     /s/ Gregory K. Nelson
                                     Gregory K. Nelson
 17                                  Attorney for Plaintiff, Red.com, Inc.
 18

 19
                                     JURY DEMAND
 20
           Plaintiff Red.com, Inc. hereby requests a trial by jury in this matter.
 21

 22
      DATED: March 30, 2016          WEEKS NELSON
 23

 24
                                     /s/ Gregory K. Nelson
 25                                  Gregory K. Nelson
 26
                                     Attorney for Plaintiff, Red.com, Inc.

 27

 28




                                               9                              Complaint
